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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Kristen Yukna, et al.
                                  Plaintiff,
v.                                                      Case No.: 1:16−cv−09279
                                                        Honorable Jorge L. Alonso
Sterling Jewelers, Inc.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 13, 2017:


        MINUTE entry before the Honorable Jorge L. Alonso: Motion hearing held.
Plaintiffs' motion for reconsideration [49] is taken under advisement. Defendants'
response shall be filed by 9/27/17. Plaintiffs' reply in support shall be filed by 10/4/17.
Status hearing previously set for 10/4/17 is stricken and reset to 10/19/17 at 9:30 a.m.
Notice mailed by judge's staff(ntf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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